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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER DENYING MOTIONS TO
                                                  MOVE WAVES
   Graves v. Monsanto Co.,
   Case No. 3:21-cv-09832-VC                      Re: Dkt. No. 19305, 19306, 19571, 19583

   Jobman v. Monsanto Co.,
   Case No. 3:22-cv-00093-VC

   Oehlmann v. Monsanto Co.,
   Case No. 3:20-cv-03067-VC

   Carmiel v. Monsanto Co.,
   Case No. 3:22-cv-03389-VC

   Strickland v. Monsanto Co.,
   Case No. 3:23-cv-02509-VC

   Thuss v. Monsanto Co.,
   Case No. 3:19-cv-07533-VC



       The motions to move the above-captioned cases to later waves are denied. As the Court

has previously said, cases that have been moved from one wave to a later wave at the request of

the parties may only be moved again upon a showing of extraordinary circumstances. Dkt. No.

17234. All of the above-captioned cases have been moved before and yet none of them make a

showing of extraordinary circumstances. The motions in Graves and Jobman make no mention
of the prior moves and provide no explanation of the circumstances other than that they have
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been unable to complete discovery. The motion in Oehlmann and Carmiel says the cases have

not been moved before, but the docket shows they have, and the motion does not explain the

circumstances other than that they have been unable to complete discovery. Finally, Plaintiffs

Strickland and Thuss only offer the excuse that issues with responsiveness and scheduling

beyond their control have delayed discovery. Scheduling issues with third parties could

potentially create exceptional circumstances, but these plaintiffs have not explained how they do

here.

         IT IS SO ORDERED.

Dated: December 3, 2024
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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